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 6
 7
 8                          UNITED STATES DISTRICT COURT
 9                         EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES,                     ) CR.S. -08-427 MCE
                                        )
12                  Plaintiff,          ) ORDER
                                        )
13        v.                            )
                                        )
14   MIGRAN PETROSYAN, KHACHATUR        )
     ARUTUNYAN, et al.                  )
15                                      )
                    Defendants.         )
16                                      )
     __________________________________ )
17
18        Defendant Arutunyan’s bond is hereby exonerated.          All guarantors
19   and their real property are hereby released from any further
20   obligations to this Court.     The hearing on this Motion, currently set
21   before this Court at 9:00 a.m., on Thursday, October 27, 2011, is here
22   by vacated.
23        IT IS SO ORDERED.
24
     Dated: October 17, 2011
25
26                                       _____________________________
                                         MORRISON C. ENGLAND, JR.
27
                                         UNITED STATES DISTRICT JUDGE
28

                                                     _______________________________
                                                                              ORDER
